 1   BENJAMIN B. WAGNER
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 2   PAUL A. HEMESATH
     Assistant United States Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   (916) 554-2700
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 7
 8                     IN THE UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,              )   CASE NO. 2:13-cr-00078 MCE
                                            )
12                      Plaintiff,          )
                                            )   STIPULATION AND ORDER
13   v.                                     )
                                            )
14    RATHANAK VAN,                         )
          aka “LOONEY”                      )   Date: September 5, 2013
15    SNANGEHK PEOU, and                    )   Time: 9:00 a.m.
      LITTANOVONE KEOPADUBSY,               )   Judge: Hon. Morrison E. England
16                                          )
                        Defendants.         )
17                                          )
                                            )
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            IT IS HEREBY STIPULATED by and between: Assistant United
20
21   States Attorney Paul Hemesath, counsel for Plaintiff; Michael Petrik,

22   counsel for defendant RATHANAK VAN, Christopher Cosca, counsel for

23   defendant SNANGEHK PEOU; and Mark Reichel, counsel for LITTANOVONE
24   KEOPADUBSY, that the above status conference be rescheduled from this
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     Court’s September 5, 2013, calendar, and that the matter be re-
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     calendared for November 14, 2013, at 9:00 a.m.     This request is made
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     jointly by the government and defense in order to permit time for
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     continued preparation, including investigation which is currently in
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     progress, and plea negotiations.   Defense counsel is reviewing
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 3   substantial discovery materials, including hours of video and audio

 4   recordings concerning the alleged conduct.     The parties agree that the

 5   interests of justice served by granting this continuance outweigh the
 6   best interests of the public and the defendant in a speedy trial.
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            IT IS FURTHER STIPULATED that time be excluded between November
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     14, and November 14, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),
 9
     Local Code T-4.
10
11   Dated: September 3, 2013                /s/ Paul Hemesath
                                             Paul Hemesath
12                                           Assistant United States Attorney
                                             Counsel for Plaintiff
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14   Dated: September 3, 2013                /s/ Michael Petrik
                                             Michael Petrik
15
                                             Counsel for Defendant
16                                           RATHANAK VAN

17
     Dated: September 3, 2013                /s/ Mark Reichel
18                                           Mark Reichel
                                             Counsel for Defendant
19
                                             LITTANOVONE KEOPADUBSY
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21   Dated: September 3, 2013                /s/ Christopher Cosca
                                             Christopher Cosca
22                                           Counsel for Defendant
                                             SNANGEHK PEOU
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                                    O R D E R
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 4             Finding that the interests of justice served by granting this

 5   continuance outweigh the best interests of the public and the defendant

 6   in a speedy trial.

 7       IT IS SO ORDERED.

 8   Dated:   September 4, 2013

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